
FRANK, Judge.
Although the record in this matter may be susceptible of a determination that E.J.K. acted in self-defense, we are precluded from passing upon the single question before us whether the trial court erred in finding the evidence sufficient to convict E.J.K. of aggravated battery. The record does not disclose either a motion for judgment of acquittal or a motion for a new trial. Either motion would have accorded the trial court an opportunity to test the sufficiency of the evidence and preserved the contention for appellate consideration. Pursuant to State v. Barber, 301 So.2d 7 (Fla.1974), however, we are foreclosed from reviewing the evidence. See also Crenshaw v. State, 490 So.2d 1054 (Fla. 1st DCA 1986).
CAMPBELL, A.C.J., and SCHOONOVER, J., concur.
